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Attorneys for Sohail Amin


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
                             SACRAMENTO DIVISION


                                       )    No. 2:10-CR-00364-MCE
UNITED STATES OF AMERICA,              )
                                       )    STIPULATION AND ORDER
                            Plaintiff, )    RESETTING STATUS CONFERENCE
                                       )    AND EXCLUDING TIME UNDER THE
v.                                     )    SPEEDY
                                       )    TRIAL ACT
SOHAIL AMIN,                           )
                                       )
                            Defendant. )    Date: April 26, 2012
                                       )    Time: 9:00 a.m.
                                       )    Courtroom 7
                                       )    Hon. Morrison C. England



      IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the April 5,
2012 Status Conference in the above-captioned matter be set for 9:00 a.m. on
April 26, 2012, in the same courtroom, and that the time beginning April 5, 2012, and
extending through April 26, 2012, should be excluded from the calculation of time under
the Speedy Trial Act. The parties submit that the interests of justice are served by the
exclusion of time, which will provide defense counsel reasonable time necessary for
effective preparation and to confer with the defendant, taking into account the exercise
of due diligence. 18 USC 3161(h)(7)(a) and (b)(iv) and Local T4.
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                       The parties stipulate and agree that the interests of justice served by granting
this continuance outweigh the best interests of the public and the defendant in a speedy
trial. See 18 USC 3161(h)(7)(a) and (b)(iv) and Local T4 (reasonable time for
preparation of counsel). Michael M. Beckwith, Assistant U.S. Attorney, and Cristina C.
Arguedas, Attorney for Defendant Sohail Amin, agree to this continuance.


IT IS SO STIPULATED.


DATED: April 3, 2012                               By: /s/ Cristina C. Arguedas_ ____
                                                   CRISTINA C. ARGUEDAS
                                                   Attorney for Defendant
                                                   SOHAIL AMIN

DATED: April 3, 2012                               BENJAMIN WAGNER
                                                   United States Attorney

                                                   By: /s/ Michael M. Beckwith_
                                                   MICHAEL M. BECKWITH Assistant U.S. Attorney

IT IS SO ORDERED.


April 9, 2012

                                                      __________________________________
                                                      MORRISON C. ENGLAND, JR
                                                      UNITED STATES DISTRICT JUDGE


DEAC_Signatur e-END:
